Case 2:21-cv-04763-RGK-KS Document 1 Filed 06/11/21 Page 1 of 19 Page ID #:1




                                                         FEE PAID

                                                                     FILED
                                                           CLERK, U.S. DISTRICT COURT




                                                            6/11/21
                                                             cs
                                                         CENTRAL DISTRICT OF CALIFORNIA
                                                           BY: ___________________ DEPUTY




                                                     CV21-4763-RGK(KSx)
Case 2:21-cv-04763-RGK-KS Document 1 Filed 06/11/21 Page 2 of 19 Page ID #:2
Case 2:21-cv-04763-RGK-KS Document 1 Filed 06/11/21 Page 3 of 19 Page ID #:3
Case 2:21-cv-04763-RGK-KS Document 1 Filed 06/11/21 Page 4 of 19 Page ID #:4
Case 2:21-cv-04763-RGK-KS Document 1 Filed 06/11/21 Page 5 of 19 Page ID #:5
Case 2:21-cv-04763-RGK-KS Document 1 Filed 06/11/21 Page 6 of 19 Page ID #:6
Case 2:21-cv-04763-RGK-KS Document 1 Filed 06/11/21 Page 7 of 19 Page ID #:7
Case 2:21-cv-04763-RGK-KS Document 1 Filed 06/11/21 Page 8 of 19 Page ID #:8
Case 2:21-cv-04763-RGK-KS Document 1 Filed 06/11/21 Page 9 of 19 Page ID #:9
Case 2:21-cv-04763-RGK-KS Document 1 Filed 06/11/21 Page 10 of 19 Page ID #:10
Case 2:21-cv-04763-RGK-KS Document 1 Filed 06/11/21 Page 11 of 19 Page ID #:11
Case 2:21-cv-04763-RGK-KS Document 1 Filed 06/11/21 Page 12 of 19 Page ID #:12
Case 2:21-cv-04763-RGK-KS Document 1 Filed 06/11/21 Page 13 of 19 Page ID #:13
Case 2:21-cv-04763-RGK-KS Document 1 Filed 06/11/21 Page 14 of 19 Page ID #:14
Case 2:21-cv-04763-RGK-KS Document 1 Filed 06/11/21 Page 15 of 19 Page ID #:15
Case 2:21-cv-04763-RGK-KS Document 1 Filed 06/11/21 Page 16 of 19 Page ID #:16
Case 2:21-cv-04763-RGK-KS Document 1 Filed 06/11/21 Page 17 of 19 Page ID #:17
Case 2:21-cv-04763-RGK-KS Document 1 Filed 06/11/21 Page 18 of 19 Page ID #:18
Case 2:21-cv-04763-RGK-KS Document 1 Filed 06/11/21 Page 19 of 19 Page ID #:19
